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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

  SAMANTHA RING,

                        Plaintiff,                 Case No. 8:19-cv-00772-VCM-JSS

  vs.

  BOCA CIEGA YACHT CLUB, INC.,

                    Defendant.
  ______________________________/

                     APPENDIX of EXHIBITS to PLAINTIFF’S RESPONSE to
                     DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

           EXHIBIT No.                                  DESCRIPTION
                25                          SR Affidavit in Support of Response to D’s
                26                                BCYC’s Responses to RFPD2
                27                        BCYC’s Email Xchg re “Improved” Call Script
                28                        BCYC’s Email Xchg re “Improved” Call Script
                29                   Vol II Deposition Transcript BCYC Commodore Southard 1
                30                      Ad re One Design Race (Food Charges & Lodging)
                31                         Voter Reg, License & Address REDACTED
                32                     Masson Email Debunking Claim of Electricity Theft
                33                          Windword 80th Ann Club Purpose Feb 2020




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   That Commodore Southard’s deposition transcript was in two volumes was an inadvertent
  omission.
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